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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           HELENA DIVISION


 NICOLE PHILLIPS,
                                                 Cause No. _______________
              Plaintiff,

 vs.
                                               COMPLAINT AND DEMAND
 UNUM LIFE INSURANCE                              FOR JURY TRIAL
 COMPANY OF AMERICA; and
 JOHN DOES 1-10

                Defendants.


       Plaintiff, by and through her attorney of record, alleges as follows in

support of her complaint against Defendant.

                 I. PARTIES, JURISDICTION, AND VENUE

       1.    Plaintiff, Nicole Phillips, is a resident of Helena, Montana. She works

at Costco and was forced to leave work due to an illness and sickness.
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      2.     Costco Wholesale Corporation is a corporation engaged in business

within the State of Montana. Costco Wholesale Corporation provides disability

benefits to its employees through a disability benefit plan, called: Costco

Employee Benefits Program – Long Term Disability Plan Benefits (“Disability

Benefit Plan”). The Disability Benefit Plan is administered by a third-party

company, Unum, the defendant in this case.

      3.     Defendant Unum Life Insurance Company of America ("Unum") has

been designated as the Plan Administrator solely for purposes of determining

claims under the Disability Benefit Plan. Unum’s address as listed in the

Disability Benefit Plan is Unum, 2211 Congress Street Portland, Maine, 04122.

Unum’s registered agent for purposes of service is Severin M. Beliveau c/o

Corporation Service Company, 45 Memorial Circle, Augusta, ME 04330.

      4.     The Disability Benefit Plan document states “[a]s a Plan

Administrator, Unum would be the proper defendant in a legal action or lawsuit

you file under ERISA only to the extent the legal action or lawsuit seeks to

recover benefits under the Costco Benefits Program - Long Term Disability Plan

Benefits.”

      5.     This lawsuit seeks to recover benefits under that plan.

      6.     Plaintiff has standing to bring this action under 29 U.S.C. § 1132, in

that the actions of Unum have wrongfully denied her of her long-term disability

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benefits due to her under the Disability Benefit Plan and Unum has violated its

fiduciary and contractual duties to Plaintiff.

      7.     The denied long-term disability claims referred herein pertain to

Plaintiff’s employment with Costco Wholesale Corporation and the store location

in Helena, Montana.

      6.     Jurisdiction and Venue are proper in this 29 U.SC. § 1132(e) which

give the State Court concurrent jurisdiction in these types of cases. The insurance

policies at issue were provided to Plaintiff through her employer, the Costco

Wholesale Corporation.

      7.     Plaintiff has satisfied the requirement to exhaust her administrative

remedies and was informed by letter from Unum of her rights to file this lawsuit.

                          II. STATEMENT OF FACTS

      8.     Plaintiff stopped working in her job as a Refund Cashier due to

multiple medical issues and complaints including skin lesion, fatigue, dizziness,

weakness, expressive dysphasia and 'impaired cognition. Her date of disability

was determined to be May 1, 2017.

      9. The Unum Benefits Center determined “Ms. Phillips would have been

precluded from performing the material and substantial duties of her own job

through her emergency room evaluation on October 26, 2017.” She was paid

short term disability benefits through Unum until November 5, 2017.

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      10.    After short term benefits ended, and despite her continued

debilitating symptoms, Plaintiff attempted to return to work so that she did not

lose her job. Her return to work exacerbated her symptoms even more. She was

not able to actually work her shifts as planned, in fact by the end of her 90-days to

re-establish benefits she was using sick leave and not working at all.

      11.    In an August 8, 2018 denial letter, Unum used this fact of Plaintiff

going back to work to justify her loss of entitlement to long-term disability

benefits due to going back to work before the end of the Elimination Period.

When, the plan document states that Unum will continue to treat the disability as

continuous if the “date of your disability stops for 90-days or less during the

elimination period.” The facts of this case show that Plaintiff fell within this 90-

day provision and would have continued to be classified as disabled under the

terms of the plan to qualify for long-term disability benefits.

      12.    Plaintiff’s ailments continued and included symptoms of dizziness,

nausea, flu like symptoms, headaches, and chills. Doctors had difficulty

classifying her condition and various sicknesses. There were various medical

classifications, based on the variety of physical symptoms displayed of, Lyme

disease or another tick born infection, mold toxin illness, mycotoxins and

endotoxins exposure. The latter mold/biotoxin exposure was later re-confirmed

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by her treating provider after the 90-day stint back at work where Plaintiff’s

symptoms worsened. During that period, Plaintiff’s symptoms had tremors,

vertigo, shortness of breath, anxiety, skin abnormalities, lesions that drained clear

fluid, memory loss, ADD, confusion, extremely high blood pressure, crying spells,

heart issues, hormonal imbalance, infection, tachycardia and extreme back pain

and depression. Plaintiff’s symptoms caused her to stop driving for 6 to 7 months.

She would collapse out of pure exhaustion. She had severe tremors in her hands

and legs. She was sleeping for up to four days straight in 2017. She would get

easily confused, have memory issues, would not recognize where she was.

         13.   Due to the physical symptoms that were clearly visible to her bosses

at work and her own concerns of her ability to complete the duties normally

required for the performance of her job or any reasonable alternative offered by

Costco (she was moved within the store to provide an accommodation and still

unable to perform her duties). Her sickness made her unable to complete any job

at Costco due to the vast array of symptoms. As a result, she was forced to go on

leave.

         14.   Plaintiff’s doctor recommended that she stay off work indefinitely

due to her debilitating symptoms.

         15.   Despite Unum’s knowledge of the vast array of sicknesses affecting

Plaintiff, that clearly fell within the terms of the Disability Benefit Plan, Unum

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went to significant efforts to discredit Plaintiff and deny the claim and did deny

the claim through the appeal process.

      16.    Instead of looking at the vast array of physical symptoms which

painted a global picture of the debilitating symptoms, Unum picked apart

individual diagnoses to claim that each diagnosis in and of itself did not constitute

a disability. However, when taken as a whole it was clear that Plaintiff’s body

had something wrong and she could not function in any capacity in her position.

                              III. CLAIMS FOR RELIEF

     COUNT ONE – Claim for Benefits under 29 U.S.C. § 1132(a)(1)(B)

      33.    Plaintiff realleges and incorporates by reference herein each and

every allegation set forth above and, in addition thereto, alleges the following:

      34.    Plaintiff had contractual relationships with Unum, pursuant to which

Unum was to provide disability benefit to Plaintiff if her “Sickness” in a way that

rendered her Disabled under the policy.

      36.    Unum had once agreed that Plaintiff was Disabled under the terms of

the policy; but then changed its tune and began denying benefits once Plaintiff

applied for long-term disability benefits.

      37.    Plaintiff is entitled to long-term disability benefits past due and

ongoing to be determined by the Court.



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     COUNT TWO – Clarification of Right to Future Benefits pursuant to 29

                                U.S.C. § 1132(a)(1)(B).

        38.   Plaintiff realleges and incorporates by reference herein each and

every allegation set forth above and, in addition thereto, alleges the following:

        39.   Plaintiff will continue at her current disability until some unknown

point in the future but continues to undergo significant and long-term care for her

Sickness.

        40.   She therefore requests a clarification of a right to future benefits until

their contractual termination date.

                           IV. PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for relief against Defendant as follows:

        1.    For an award of past and future benefits and interest under a long-

term disability plan pursuant to 29 U.S.C. § 1132(a)(1)(B);

        2.    Attorneys’ fees and costs pursuant to 29 U.S.C. § 1132(g)(1) or any

other relevant authority; and

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     3.     For such other legal or equitable relief as the Court deems just.

     DATED this 20th day of September, 2019.

                               DOUBEK, PYFER & STORRAR, PLLP


                                /s/ Keif Storrar, Esq.
                               KEIF STORRAR
                               Attorney for Plaintiff




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